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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-06-52 (2 and 3)
                                                 §
                                                 §
JUAN JOSE CAVAZOS                                §
LUIS LEAL                                        §

                                          ORDER

              Defendant’s motion for continuance of all scheduled dates, (Docket Entry No.

810), is granted based on ongoing discovery and the need for defense counsel to complete

a review of the discovery material, including affidavits for wiretaps and recorded

conversations, and to complete the independent investigation of the case. The court finds that

the interests of justice are served by granting this continuance and that those interests

outweigh the interests of the public and the defendants in a speedy trial. The motion for

continuance is GRANTED. The docket control order is amended as follows:

       Motions to be filed by:                       April 23, 2009
       Responses to be filed by:                     May 6, 2009
       Pretrial conference is reset to:              May 21, 2009, at 3:00 p.m.
       Jury trial and selection are reset to:        May 26, 2009, at 9:00 a.m.

              SIGNED on March 30, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
